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The Honorable Jacqueline Scott Corley
USDC, Northern District of California
San Francisco Courthouse
Courtroom F - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Re:    Waymo LLC v. Uber Technologies, Inc. et al., Case No. 3:17-cv-00939

Dear Magistrate Judge Corley:

Defendants Uber Technologies, Inc. and Ottomotto LLC (“Uber”) submit the attached
response to Waymo’s letter brief in support of its motion to compel Uber to (1) provide a
further response to Expedited Interrogatory Nos. 24, 25, and 26, and (2) produce additional
documents in response to Requests for Production Nos. 1, 30, 42, 74, 85, 91, 98, 99, 110,
117, and 145 (Waymo’s July 12, 2017, Discovery Letter Brief (hereinafter “Mot.”), Dkt. No.
879).

Interrogatory No. 26 (Describe Pre-Signing Bad Acts)

Through the parties’ ongoing meet and confer efforts, Uber agreed to supplement its
response to this Interrogatory and has agreed to produce non-privileged documents in
response to this request. Uber’s supplementation satisfies its obligations under the federal
rules, and to date Waymo has not objected to the sufficiency of Uber’s proposed
supplementation.

RFP No. 30 (Consulting Work by Levandowski), 98, 99 (Levandowski Input Into Any
Component, Testing, Assembly, Tuning, Calibration), 110 (Documents Brought by Former
Waymo Employees to Defendants), 145 (Documents Regarding Design or Development
that Reference Waymo); Expedited Interrogs. 24 and 25 (Components that Levandowski
Did and Did Not Contribute To) – Alleged Non-LiDAR Trade Secrets

To date, Waymo’s case against Uber has focused entirely on alleged misappropriation of
LiDAR-related trade secrets. In its amended complaint, Waymo alleged that:
    “Waymo experimented with, and ultimately developed, a number of different cost-
       effective and high-performing laser sensors known as LiDAR.” (Dkt. No. 23 ¶ 2.)


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      “Otto and Uber are currently building and deploying (or intending to deploy) LiDAR
       systems (or system components) using Waymo’s trade secret designs.” (Id. ¶ 3.)
      “[Mr. Levandowski] . . . attempt[ed] to erase any forensic fingerprints that would
       show what he did with Waymo’s valuable LiDAR designs once they had been
       downloaded to his computer.” (Id. ¶ 4.)
      “In light of Defendants’ misappropriation and infringement of Waymo’s LiDAR
       technology, Waymo brings this Complaint . . . .” (Id. ¶ 11.)

Waymo did not raise any non-LiDAR trade secrets in its preliminary injunction motion. (See
Dkt. 24.) And the time for Waymo to amend its pleadings has passed. (See Dkt. No. 563
¶ 2.) Waymo has conducted extensive discovery in this case, including depositions,
inspections of Uber’s facilities, and the production of documents, all of which focused on
Uber’s LiDAR technology. In its interrogatory responses, Waymo likewise focused its
contentions on LiDAR technology, and did not identify any evidence of use by Uber of non-
LiDAR trade secrets, aside from a blanket allegation that Uber received the 14,000 files.
(See Declaration of Sylvia Rivera in Support of Defendants Uber Technologies, Inc. and
Ottomoto LLC’s Opposition to Waymo’s Motion to Compel Further Discovery Responses
(“Rivera Decl.”), Ex. 1 at 5-11 (Waymo’s Supplemental Resp. to Uber’s Interrog. No. 1).)

Now, halfway through fact discovery and a few weeks before its August 1 deadline to
narrow its claims to the “fewer than ten” trade secrets it will take to trial, Waymo demands
to vastly expand the scope of this case beyond LiDAR. In particular, Waymo seeks
discovery regarding Uber’s non-LIDAR software, notwithstanding that Waymo’s list of 121
trade secrets identified only one software trade secret, which was LiDAR-related (
                                                                                 ), and Waymo
has not identified any evidence that this trade secret is used by Uber. (See Rivera Decl. Ex. 2
(Waymo’s Trade Secret List).) The software for which Waymo seeks discovery is different
from the Otto software modules that the Court found to be discoverable in its July 12, 2017
Order (and which Defendants plan to appeal): unlike the Otto modules, the software Waymo
is seeking here was not part of the Otto acquisition and so is lacking even that tenuous
connection to the claims in this case.

Waymo tries to support its request for non-LIDAR discovery by pointing to a single
document, a project spreadsheet entitled “                                              arguing
that it details problems and solutions from the entire self-driving team. (Rivera Decl.
Ex. 3.) But a closer examination of this                     document shows it includes no
software algorithms or source code at all. (Id.) In its Cal. Civ. Proc. Code § 2019.210 Trade
Secrets List, Waymo describes this document as containing




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(Rivera Decl. Ex. 2 at 49.) A general goals document, with no actual software or source
code, or even a particularized description of the software that Waymo could identify, is not a
basis for broadly alleging misappropriation of alleged software trade secrets, and does not
justify discovery of Uber’s non-LiDAR software. See Loop AI Labs Inc. v. Gatti, 195 F.
Supp. 3d 1107, 1115 (N.D. Cal. 2016) (“[c]atchall” wording such as “Plaintiff’s confidential
information, including regarding problems experienced with certain tests” was insufficient
disclosure of trade secrets); Computer Economics, Inc. v. Gartner Group, Inc., 50 F. Supp.
2d 980, 985 (S.D. Cal. 1999) (purpose of trade secrets disclosure includes “assist[ing] the
court in framing the appropriate scope of discovery”).

Waymo further seeks discovery into non-LiDAR technology on the basis of Trade Secrets
108 and 109, which are described without particularity as
                                                        (TS 108) and for
                                (TS 109). See Loop AI Labs Inc., 195 F. Supp. 3d at 1115-
1116 (trade secrets disclosure such as “[a]ll information stored in Plaintiff’s Apple MacBook
computer” or “[a]ll information stored in Plaintiff’s data accounts” were “so vague and
unspecific as to constitute no disclosure at all”). Again, Waymo has not previously raised
alleged misappropriation of radar technology by Uber, did not seek information on this
technology during expedited discovery, and has pointed to no evidence of any use by Uber of
radar-related trade secrets. There is no basis for Waymo’s attempt to expand discovery into
technologies other than LiDAR.

RFP No. 42 (“All DOCUMENTS and COMMUNICATIONS REGARDING” the
Indemnification Agreement)

Uber produced the Indemnification Agreement (“Agreement”) on May 11, 2017, as part of
the acquisition documents. RFP No. 42 now seeks “All DOCUMENTS and
COMMUNICATIONS REGARDING” the Agreement. In the face of that overbroad
Request, Uber agreed to produce all non-privileged documents exchanged between Uber and
Ottomotto reflecting the negotiation of the Agreement, any demands for indemnification
submitted by Mr. Levandowski to Uber, and any non-privileged communications about those
demands. (Mot., Ex. 5 at 2.) Purporting to “narrow” the request, Waymo insists on
production of “all” documents and communications regarding the Agreement up through the
execution date on April 11, 2016, and thereafter “all” documents and communications that
“reference either the agreement or one or more of its terms.” (Mot. at 5.) That does nothing
to cure the overbreadth.

The Agreement and its exhibits are 21 pages long, and are referenced 24 times in the merger
agreement, exhibits, and disclosures for the acquisition. Producing all documents
“regarding” the Agreement would include at least all documents and communications that
include or excerpt in substantial part any of those documents, whether in draft or final form.

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A search for “indemnification agreement” in Uber’s document review database for this
litigation brings back more than 4,000 documents, and that number balloons to more than
8,000 when cover emails and attachments are included. (Rivera Decl. ¶ 10.) This Request
purports to require the production of the vast majority of those documents. It also purports to
require the production of all documents after April 11, 2016, that in any way refer to even a
single term from the 21-page Agreement. It is not even clear how Uber could possibly
ascertain that population of documents.

Moreover, a great many of those documents will be privileged. Uber’s counsel, both in-
house and outside, were substantially involved in the negotiation, drafting, and discussion of
the indemnity obligation (along with all of the acquisition documents), such that a huge
swath of responsive documents will be documents and communications internal to Uber
involving legal analysis or advice of counsel. Waymo is not entitled to those documents in
any event, and given the extraordinarily expedited schedule in this litigation, requiring the
production of yet another voluminous privilege log serves no productive purpose.1

As a result, this Request is not “proportional to the needs of the case, considering the
importance of the issues at stake in the action, the amount in controversy, the parties’ relative
access to relevant information, the parties’ resources, the importance of the discovery in
resolving the issues, and whether the burden or expense of the proposed discovery outweighs
its likely benefit.” Fed. R. Civ. P. 26(b)(1).

Waymo’s “strawman” arguments do not change that conclusion. First, a “document post-
dating April 11, 2016 that referred to one of Mr. Levandowski’s ‘Pre-Signing Bad Acts’”
(Mot. at 3), to the extent any exist, would be responsive to Expedited RFP No. 8 and either
would be produced or placed on a privilege log. (Rivera Decl. Ex. 4 (Exp. RFP No. 8)
(documents regarding actual “Pre-Signing Bad Acts”); see Dkt No. 881 (RFP No. 8).)
Second, Waymo wrongly contends that all documents “about indemnification leading up to
the signing . . . are relevant to what Uber knew about Mr. Levandowski’s ‘Bad Acts’ and
when they knew it.” (Mot. at 3.) Uber already served and the parties have litigated the
privilege logs for documents and communications concerning potential downloading by Mr.
Levandowski. “All documents about indemnification” will not yield that information.
Third, the documents and communications Waymo cites would be produced pursuant to

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   Indeed, with respect to several RFPs for documents related to the merger, at the Special
Master’s urging the parties agreed to table Uber’s obligation to prepare a privilege log, and if
it is determined that a log is necessary, the presumption is that it will be a categorical log
rather than a document-by-document log, with Waymo needing to show “good cause” for
anything more than that. (Mot., Ex. 5 at 3.) If the Court concludes that a privilege log is
required for the full scope of RFP No. 42, Uber submits that it should be subject to the
agreement reached between the parties in consultation with the Special Master.

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Uber’s agreement to produce non-privileged communications between Travis Kalanick,
Brian McClendon, or John Bares, and any other person regarding Ottomotto, Otto Trucking,
or Mr. Levandowski, before August 23, 2016, in response to RFP Nos. 164-166. (See Rivera
Decl. Ex. 8.) In fact, the email from Cameron Poetzscher to Travis Kalanick that Waymo
cites was indeed already produced by Uber. Fourth, Uber has agreed to produce the
indemnification demands, responses thereto, and related non-privileged communications, so
Waymo will have documents reflecting the terms settled on by the parties. Waymo thus does
not need all documents post-dating April 11 that mention the Agreement or any of its terms.

Fifth, Waymo’s contention that the documents it seeks are relevant to Uber’s possession,
custody, or control of potential downloaded materials at Epiq makes no sense. Epiq received
a copy of the Relativity data from Stroz at the request of Morrison & Foerster in its capacity
as counsel for Mr. Levandowski in the arbitrations. (Dkt. No. 762 at 7.) Uber does not have
possession, custody, or control of those materials. Sixth, Uber has produced the Agreement,
and agreed to produce the indemnification demand, response thereto, and related non-
privileged communications, so again, Waymo does not need “all documents” to determine
whether Uber had the authority to terminate any indemnity arrangement. The vast
production of all documents that mention or refer to the indemnification agreement that
Waymo seeks is unwarranted.

RFP No. 74 (access logs reflecting Mr. Levandowski’s access of Uber’s servers from a
personal devices)

This Request seeks documents sufficient to show how many times Mr. Levandowski
accessed Uber’s servers “from a personal device.” When Uber explained that no responsive
documents exist because Uber’s records can only identify users of its systems, and not the
devices involved, Waymo demanded all logs reflecting all instances where Mr. Levandowski
accessed a server, whether or not they showed access “from a personal device.” Waymo
made that demand the day before its motion to compel was due. Uber has now had the
opportunity to consider that demand, and even though Waymo’s demand falls outside the
scope of the Request, Uber agrees to produce the demanded logs in the spirit of compromise.
The issue is therefore moot.

RFP No. 91 (all documents regarding Mr. Levandowski’s “Authorized Devices”)

Uber has no non-privileged documents responsive to Waymo’s request for all documents and
communications regarding Mr. Levandowski’s “‘Authorized Devices’ (as that term is
defined in UBER00006444, Section 7), [including] (without limitation) any request for
approval in connection with Section 7.2 or any de-authorization (whether contemplated or
effec[tua]ted) under Section 7.3.” (RFP No. 91.) Mr. Levandowski had one “Authorized
Device” (as that term is defined in UBER00006444, Section 7), which Uber identified in its

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Response to Expedited Interrogatory No. 3. (Rivera Decl. Ex. 5.) This fact is supported by
paragraph 5 of the Faulkner Declaration. (See Dkt. No. 749-8 ¶ 5, discussing computer with
serial number C02SX6KRGTFL.) Mr. Levandowski did not have any Non-Uber Devices (as
that term is used in UBER00006444, Section 7). This fact is supported by paragraph 7 of the
Faulkner Declaration. (Dkt. No. 749-8 ¶ 7.) Uber does not maintain documents about what
is or is not an Uber Device or Non-Uber Device, nor does Uber have any records regarding
approval or de-authorization (as those terms are used in UBER00006444, Section 7).

RFP No. 85 (All documents and communications regarding Mr. Levandowski’s
compensation-related agreements)

It is undisputed that Uber has already produced Mr. Levandowski’s compensation-related
agreements with Ottomotto and Uber. In response to this Request, Uber agreed “to produce
non-privileged documents exchanged between Uber and Ottomotto (or individually with Mr.
Levandowski) regarding the negotiation of Mr. Levandowski’s salary, bonus, and stock
awards.” (Mot., Ex. 5 at 2.) Uber has also described in an interrogatory response the salary
and bonus payments Mr. Levandowski actually received, as well as the fact that none of his
stock had vested when he was terminated. It will be further supplementing that response
pursuant to this Court’s July 12 order. (See Rivera Decl. Ex. 6 (2017.06.22 Uber’s Resp. to
Expedited ROGs 5&8).) In light of that, the Court should reject as overbroad and unduly
burdensome Waymo’s further demand for “[a]ll [documents] and [communications
regarding] any compensation-related agreements.” (RFP No. 85 (emphasis added).)
Waymo’s demand would require producing – without time limitation – every piece of paper
that merely refers to Mr. Levandowski’s compensation terms, including ministerial records
like payroll stubs. Waymo’s highly attenuated explanation of relevance — that Waymo
might learn from “all” these documents “what Uber knew and when Uber knew it, as well
as . . . disclosure and use of Waymo’s trade secrets” — is based on sheer speculation. This is
clearly a fishing expedition.

RFP No. 1 (E-Discovery Vendor Agreement with Stroz)

The Court should reject Waymo’s demand for Uber’s e-discovery vendor agreement for this
litigation with its vendor, Stroz. The e-discovery agreement is irrelevant to the parties’
claims and defenses and contains competitively sensitive information about Stroz’s pricing
that Quinn Emanuel as a purchaser in the e-discovery marketplace should not see. Waymo’s
sole assertion of relevance is based on the erroneous premise that all Stroz witnesses have a
personal financial stake in any money that Uber pays to Stroz, the firm, in its capacity as an
e-discovery vendor. That premise simply isn’t true. Uber’s forensic expert, Mr. Faulkner,
for example, is a Stroz employee whose compensation is unaffected by Uber’s e-discovery
relationship with Stroz—a fact Waymo is free to explore with Mr. Faulkner in deposition.
Moreover, Waymo’s argument that Uber was free to use any e-discovery vendor in the

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marketplace is without merit. In part due to Waymo’s overbroad search demands, Uber
collected and processed 235 TBs of data. Transferring that data to another vendor while
meeting extremely short deadlines simply would have been unworkable.

RFP No. 117 (“DOCUMENTS sufficient to show all author(s) of and contributor(s) to the
letter to Nevada authorities, ‘RE: Clarification to Autonomous Technology Certification
Submission,’ dated on or around March 15, 2017.”)

Because of space limitations, Uber will not respond to Waymo’s rhetoric about the Nevada
letter, nor to Waymo’s conclusory assertion that Uber has stonewalled as to matters that do
not fall within the narrow confines of RFP No. 117. The issue on RFP No. 117 is this: based
on the parties’ meet and confer, Uber understands that Waymo wants to know which Uber
personnel contributed to the letter. Uber informed Waymo that there are no non-privileged
documents that reflect that information. In particular, if Waymo wants to know which non-
lawyers at Uber contributed, Uber would simply identify those persons for Waymo, and in
exchange Uber would not have to prepare a privilege log. (Rivera Decl. Ex. 7 (Rivera Email
7/14/17).) Given that Waymo did not agree to that compromise, Uber agrees to prepare a
privilege log for its privileged, responsive documents for this Request. This Request is
therefore resolved.


Respectfully submitted,

/s/ Arturo J. González

Arturo J. González

cc: Counsel of Record
    Special Master John Cooper




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